 Case 1:20-cv-02310-JRS-MPB Document 97 Filed 09/29/20 Page 1 of 4 PageID #: 1420


                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

ERIN ALDRICH , LONDA BEVINS,                    )
JESSICA JOHNSON, and BEATA                      )
CORCORAN, individually and on behalf            )
of all others similarly situated,               )         No. 1:20-cv-02310-JRS-MPB
                                                )
                Plaintiffs,                     )
                                                )
v.                                              )         PLAINTIFFS’ STATEMENT OF POSITION
                                                )
NATIONAL COLLEGIATE ATHLETIC                    )
ASSOCIATION, THE BOARD OF                       )
GOVERNERS OF THE NATIONAL                       )
COLLEGIATE ATHLETIC                             )
ASSOCIATION, and JOHN REMBAO,                   )
                                                )
                Defendants.                     )


                              PLAINTIFFS’ STATEMENT OF POSITION

        Pursuant to Local Rule 16-2 of the United States District Court for the Southern District of

Indiana, Plaintiffs submit this Statement of Position as to the above-referenced action.

        On March 11, 2020, Plaintiffs filed a class action Complaint for damages and injunctive relief in

the United States District Court for the Northern District of California against, inter alia, Defendants

National Collegiate Athletic Association and the Board of Governors of the National Collegiate Athletic

Association, for claims arising from the NCAA’s failure to protect student-athletes from sexual abuse

and harassment by predatory coaches. See. 5:20-cv-01733-EJD (N.D. Cal.). They also brought claims

against Defendant John Rembao for sexually abusing the three Plaintiffs for years while they were

student-athletes, and sought to hold the NCAA responsible for Rembao’s misconduct under the doctrine

of respondeat superior. Id. Plaintiffs amended their Complaint on July 13, 2020, to add another

plaintiff, a current NCAA student-athlete. Doc. 54.

        On July 27, 2020, Defendants NCAA and the Board of Governors filed a motion to dismiss,

seeking, inter alia, to dismiss this case for lack of personal jurisdiction or, in the alternative, transfer it to

                                                    -1-
    Case 1:20-cv-02310-JRS-MPB Document 97 Filed 09/29/20 Page 2 of 4 PageID #: 1421


the Southern District of Indiana. Doc. 57. On September 8, 2020, the Honorable Edward J. Davila

transferred all claims against the NCAA and its Board to this Court. 1 Docs. 72, 76.

        Plaintiffs and Defendants have conferred and agree to the following schedule for Plaintiffs to file

an amended complaint, and a motion to dismiss/strike briefing schedule:

               October 6, 2020: Plaintiffs file Amended Complaint.

               November 6, 2020: Defendants’ Motion to Dismiss/Strike Due.

               December 4, 2020: Plaintiffs’ Opposition to Defendants’ Motion to Dismiss/Strike Due.

               December 18, 2020: Defendants’ Reply in Support of Motion to Dismiss/Strike Due.


Dated: September 29, 2020                     Respectfully submitted,

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1
  Defendant Rembao also filed a motion to dismiss, arguing that Plaintiffs’ claims were time-barred and
inadequately pleaded. Doc. 58. The Court denied his motion to dismiss. Doc. 72.
                                                -2-
Case 1:20-cv-02310-JRS-MPB Document 97 Filed 09/29/20 Page 3 of 4 PageID #: 1422


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                                    -3-
 Case 1:20-cv-02310-JRS-MPB Document 97 Filed 09/29/20 Page 4 of 4 PageID #: 1423


                                   CERTIFICATE OF SERVICE

        I certify that on September 29, 2020 a copy of the foregoing Statement of Position was mailed,
by first-class U.S. Mail, postage prepaid and properly addressed to the following:

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                                                    /s/ Lynn A. Ellenberger
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                                              -4-
